Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 1 of 9 PageID #: 926




                                                                App. Tab
                                                                            exhibitsticker.com




                                                                    C
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 2 of 9 PageID #: 927
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 3 of 9 PageID #: 928
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 4 of 9 PageID #: 929
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 5 of 9 PageID #: 930
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 6 of 9 PageID #: 931
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 7 of 9 PageID #: 932
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 8 of 9 PageID #: 933
Case 4:17-cv-04123-LLP Document 47-4 Filed 08/03/18 Page 9 of 9 PageID #: 934
